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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
HISCOX INSURANCE COMPANY, INC.                                             1:18-CV-10222-PAE


                                            Plaintiff,

                          -against-

CURTIS BORDENAVE, BUSINESS MOVES
CONSULTING, INC. dba BUSINESS MOVES,

                                             Defendants.
-----------------------------------------------------------------------X


    PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
   CROSS-MOTION TO DISMISS AND IN FURTHER SUPPORT OF MOTION FOR
             DEFAULT JUDGMENT AGAINST BUSINESS MOVES




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        Plaintiff, Hiscox Insurance Company, Inc. (“Hiscox”), by and through its counsel, Cozen

O’Connor, respectfully submits this Memorandum of Law in Opposition to Defendants’ Cross-

Motion to Dismiss and in further support of its Motion for Default Judgment.

                                 PRELIMINARY STATEMENT

        On February 5, 2019, after appearing before this Court multiple times in this action and

while also actively participating in litigation in the underlying action in this same Court,

Defendants Curtis Bordenave and Business Moves Consulting, Inc. d/b/a Business Moves

(“Business Moves”) (together, “Defendants”) filed a Motion to Dismiss, claiming the Southern

District of New York does not have personal jurisdiction over them. On the very same day,

Business Moves also filed a substantive opposition to Hiscox’s currently pending Motion for

Default Judgment.

        Contrary to Defendants’ assertions, this Court has personal jurisdiction over them and they

have waived any possible jurisdictional defense in any event. Defendants concede that they have

already appeared in this case, and they have sought relief from this Court by requesting numerous

extensions of time to answer or otherwise plead (and subsequently choosing to ignore the extended

deadlines the Court granted). Business Moves further concedes this Court has jurisdiction in asking

it to vacate the default against it. The underlying action, which is the focus of this declaratory

judgment action, involves allegations of tortious conduct within this District as a result of

Defendants’ business activities in New York. Defendants have appeared in that case, thereby

acknowledging that the Court has personal jurisdiction over them for the issues involved in these

two cases. Moreover, Defendants conduct business within this State via their website which

markets, advertises and sells products to New York consumers. Defendants have more than

minimum contacts with New York, and the exercise of personal jurisdiction does not offend

traditional notions of fair play and substantial justice.

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        Further, there is no basis to decline jurisdiction based on forum non conveniens. Defendants

have found it sufficiently convenient to litigate the underlying action in this Court, and this related

declaratory judgment action is not any different. This matter involves a legal interpretation of the

Hiscox insurance policy as compared with the complaint in the underlying action in order to

determine whether Hiscox has a duty to defend. There are no witnesses to be heard or issues of

fact to be determined. The legal issue of a current duty to defend is ripe for adjudication and Hiscox

expects that it will be in a position to immediately file a summary judgment motion upon resolution

of these issues.

        Hiscox respectfully requests that this Court deny Defendants’ cross-motion for the reasons

discussed herein.

                                    STATEMENT OF FACTS

        This action was commenced on November 2, 2018 pursuant to 28 U.S.C. § 2201 seeking

a declaration that Plaintiff does not owe a defense or indemnification for an underlying trademark

infringement lawsuit pending against Defendants in this District (the “Underlying Action”). See

Declaratory Judgment Complaint, Doc No. 1. In sum, in the Underlying Action, Defendants have

been sued by Khaled M. Khaled and ATK Entertainment, Inc. (together, “DJ Khaled”) for

trademark infringement. See Underlying Action Complaint, Doc. No. 1-5. DJ Khaled claims that

Defendants have “intentionally targeted Khaled and his son by using and applying to register the

trademarks ASAHD, ASAHD COUTURE, A.S.A.H.D. A SON AND HIS DAD and WE THE

BEST LIFESTYLE in connection with purported clothing and magazine publishing businesses,

and by using Plaintiff Khaled’s name and performing name as hashtags to direct internet traffic to

Defendant’s products.” See id. at ¶3. DJ Khaled alleges solely intentional conduct arising entirely

from alleged trademark infringement. See id. In the Underlying Action, DJ Khaled contends that

Defendants “regularly do and solicit business within the State of New York; have engaged in

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conduct outside this state causing injury within this judicial district and state, including without

limitation their dissemination of defamatory statements about Plaintiff ATK to one or more New

York corporations, have engaged in conduct, including, but not limited to, the marketing,

promotion, advertising and sale of products, in this judicial district, causing injury within this

district and within the State; have derived substantial revenues from services advertised, promoted,

marketed, sold and/or offered for sale within this district and State; and have and should have

reasonably expected their acts, including, but not limited to, the marketing, promotion, advertising,

sale and/or offering for sale of services in violation of [DJ Khaled’s] rights and the making of

defamatory statements in violation of Plaintiff ATK’s rights under New York law to have

consequences within this district and within the State, including, but not limited to, the harm

suffered by [DJ Khaled] complained of herein.” See id. at ¶13. DJ Khaled has asked this Court to

bar Defendants from using the trademarks and to force them to withdraw certain trademark

applications. He also seeks damages and any profits Defendants made off the infringing marks.

Business Moves is an online retailer and its website is accessible to New York customers. See

https://www.businessmovesbrands.com/shop.

         Hiscox issued a commercial general liability insurance policy to Business Moves,1 which

also includes Mr. Bordenave as an insured but only with respect to his duties as a Business Moves

officer or employee. See CGL Policy, Doc. No. 1-1. Hiscox has agreed to provide a legal defense

to the Defendants against the Underlying Action subject to an express reservation of rights, until

such time as it obtains a judicial declaration that it does not owe any duty to defend or indemnify.2




1
 Hiscox also issued certain professional liability policies that do not afford coverage for this matter; a position that
Defendants have never challenged.
2
 Hiscox expressly objects to the representation by Defendants that Hiscox has somehow agreed that the Underlying
Action is “covered” by the CGL Policy. At all times, Hiscox has maintained a reservation of rights to deny coverage
to the extent the Underlying Action may not be covered. See Affidavit of Mack Charles Pampley III, Exhibit A.

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On August 13, 2018, Defendants (who were represented by independent counsel of their choosing

at the time) filed an Answer in the Underlying Action and have not filed any motion challenging

this Court’s personal jurisdiction. See Underlying Action (Case No. 1:18-cv-05187), Doc. No. 18.

Since that time, Defendants have been actively litigating before this Court, including personally

appearing for a settlement conference.

        While it continues to provide Defendants with a defense to the Underlying Action under a

reservation of rights, Hiscox has sought a declaration that there is no duty to defend or indemnify

based on a comparison of the Underlying Action complaint with the terms and exclusions of the

Hiscox CGL Policy. Business Moves was served with this lawsuit on November 9, 2018, and

Curtis Bordenave was served on November 28, 2018. See Affidavits of Service, Doc Nos. 8, 11,

respectively. By way of a letter dated November 28, 2018, filed on December 4, 2018 by the Clerk,

Business Moves appeared in this case and was granted a 30-day extension of time to answer or

otherwise plead because it was searching for counsel. See Doc. No. 10. As admitted in its

Opposition to Hiscox’s Motion for Default Judgment, Business Moves “did appear [in this action]

by letter to the Court on November 28, 2018, with a clear intent to participate in this Action.” See

Business Moves’ Memorandum of Law in Opposition to Hiscox’s Motion for Default Judgment,

Doc. No. 37 at p. 5. On January 4, 2019, Business Moves again requested relief from this Court,

by way of a further extension of time to find counsel. See Doc. No. 19. The Court granted this

request on January 8, 2019 and gave Business Moves until January 22, 2019 to retain counsel. See

Doc. No. 21. When Business Moves failed to meet this deadline, Hiscox appropriately and timely

filed for default. See Doc. No. 32. Astonishingly, Business Moves chose not to make any attempt

to retain counsel until January 28, 2019, and now asks this Court again for relief by filing an

Opposition to Hiscox’s Default Judgment motion. See Doc. No. 37.



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          Likewise, on December 18, 2018, Defendant Curtis Bordenave appeared in this case and

requested a 30 day extension of time to answer or otherwise plead. See Doc. No. 12. The Court

granted the relief sought on December 20, 2018. See Doc. No. 13. On January 16, 2019, Mr.

Bordenave again requested more time to respond to the complaint, and the Court granted this

request on January 22, 2019. See Doc Nos. 24, 27.

          Thus, Business Moves has appeared and requested relief from this Court three times: twice

demanding extensions of time (and ignoring the deadlines set forth by the Court in response) and

again seeking to lift the default and oppose Hiscox’s Default Judgment motion. Curtis Bordenave

has appeared and requested relief from this Court in twice demanding extensions of time. Having

obtained the relief sought on numerous occasions, Defendants now seek to dismiss this case on the

grounds that this Court has no personal jurisdiction over them. It is respectfully submitted that this

Court has the requisite personal jurisdiction, and Defendants’ continued delay tactics should be

denied.

                                      LEGAL ARGUMENT

I.        Hiscox’s Default Judgment Motion Against Business Moves is Meritorious

          As an initial matter, Hiscox understands and acknowledges that default judgments are

generally disfavored, and that now that Business Moves has retained counsel on its behalf, the

Court may be inclined to lift the default and decide this case on the merits. However, Hiscox must

note that its Default Judgement Motion is entirely meritorious and may appropriately be granted.

First, Business Moves’ default was very clearly willful. The Court granted multiple extensions to

Business Moves (and to Curtis Bordenave), and Business Moves brazenly and repeatedly failed to

comply with the Court’s Orders. Even in Opposition to Hiscox’s Motion for Default Judgment,

Business Moves fails to point to a single time it attempted to retain counsel before Hiscox filed its

motion. Business Moves broadly alleges — without support — that it was “working diligently and

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tirelessly” to find adequate New York counsel, but cannot explain why, given such efforts, it was

unable to find counsel for nearly three months. The New York bar is saturated with adequate

counsel, and Business Moves had absolutely no trouble locating New York counsel to provide it

with an independent defense in the Underlying Action. Indeed, Business Moves admits that it did

not even attempt to contact counsel until January 28, 2019, nearly a week after the deadline and

only in response to the motion for Default Judgment. See Affidavit of Tanner Bryce Jones, Doc.

No. 37-1. Business Moves’ default was both willful and deliberate.

        To the extent the Court decides to set aside the default and deny Hiscox’s Default Judgment

motion, Hiscox has no objection to this Court deciding the merits of this case, as it is entirely

confident in its coverage position. The Hiscox CGL Policy simply does not afford coverage for

claims that arise out of trademark infringement, nor does it afford coverage for intentional conduct,

(among other defenses). Business Moves has tellingly ignored any reference to policy language or

insurance coverage in arguing it has “numerous meritorious defenses.” Rather, Business Moves

points to its personal jurisdiction/forum non conveniens argument, discussed below, and makes

vague and unsupported threats of “bad faith.” Business Moves also incorrectly claims this matter

is somehow not ripe for adjudication. Clearly, the parties have a current and active controversy

over whether Hiscox owes a duty to defend. See Atl. Cas. Ins. Co. v. Value Waterproofing, Inc.,

918 F. Supp. 2d 243, 261 (S.D.N.Y.), aff'd sub nom. Atl. Cas. Ins. Co. v. Greenwich Ins. Co., 548

F. App'x 716 (2d Cir. 2013) (CGL insurer’s duty to defend and indemnify insured in an underlying

action was ripe for adjudication in insurer's declaratory judgment action, even though underlying

action had yet to be resolved; insurer was providing insured a defense under a reservation of rights,

and determination of its duty to indemnify would not require more extensive fact finding than

determination of its duty to defend). These “red herring” issues do not go to the merits of this



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declaratory judgment action, and are therefore not meritorious defenses. This Court has an

appropriate and well-founded basis to grant Hiscox’s separately pending Motion for Default

Judgment.

II.     Defendants Have Waived any Potential Personal Jurisdiction Defense

        The requirement of personal jurisdiction, like any individual right, may be waived. Ins.

Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 703 (1982). In

determining whether Defendants have waived objections to personal jurisdiction, the Court

considers “all of the relevant circumstances.” City of New York v. Mickalis Pawn Shop, LLC, 645

F.3d 114, 133 (2d Cir. 2011) (quoting Mattel, Inc. v. Barbie-Club.com, 310 F.3d 293, 307 (2d Cir.

2002)). Here, Defendants’ appearances in this action by letters requesting relief from this Court,

Defendants’ opposition to Hiscox’s motion for default judgment, and Defendants’ participation in

the Underlying Action have amounted to a submission to the jurisdiction of this Court.

Accordingly, Defendants’ Motion to Dismiss should be denied.

        A.         Defendants Have Waived Any Possible Personal Jurisdiction Defense by
                   Appearing in this Action

        First, any purported personal jurisdiction defense has been waived by the Defendants based

on their conduct in this case. The defense may be waived by “failure to assert it seasonably, by

formal submission in a cause, or by submission through conduct.” Pennsylvania Lumbermens Mut.

Ins. Co. v. Forman’s of Orchard Street, Inc., 96 Civ. 0508, 1998 WL 241963, at *2 (S.D.N.Y. May

14, 1998). “To waive or forfeit a personal jurisdiction defense, a defendant must give a plaintiff a

reasonable expectation that it will defend the suit on the merits or must cause the court to go to

some effort that would be wasted if personal jurisdiction is later found lacking.” Corporación

Mexicana De Mantenimiento Integral, S. De R.L. De C.V. v. Pemex–Exploración Y Producción,

832 F.3d 92, 102 (2d Cir. 2016) (quoting Mobile Anesthesiologists Chicago, LLC v. Anesthesia



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Assocs. of Houston Metroplex, P.A., 623 F.3d 440, 443 (7th Cir. 2010)). Whether Defendants have

waived jurisdictional objections depends on “the nature and extent of defendants’ contacts with

the court.” I.L.G.W.U. Nat’l Retirement Fund v. Meredith Grey, Inc., 986 F. Supp. 816, 820

(S.D.N.Y. 1997) (quoting Trustees of Central Laborers’ Welfare Fund v. Lowery, 924 F.3d 731,

733 (7th Cir. 1991)).

        Defendants have appeared in this case, engaged in the “voluntary use of certain district

court procedures” and sought “affirmative relief” from this Court by filing numerous requests for

extensions of time to answer or otherwise plead. See Pemex, 832 F.3d at 101. Business Moves

admits as much when it states that it “did appear by letter to the Court on November 28, 2018 with

a clear intent to participate in this Action.” See Business Moves’ Opposition to Hiscox’s Motion

for Default Judgment, Doc. No. 37 at p. 5 (emphasis added). Defendants never advised the Court

of any intent to dispute personal jurisdiction when they were making continued demands for

extensions of time. These letters to the Court demonstrated — in Defendants’ counsel’s very own

words — an intent to participate in this case in this Court without preserving any jurisdictional

defenses, and signaled that Defendants were prepared to defend the suit on the merits. Defendants

should not be permitted to take advantage of this Court’s goodwill to cause further delay in order

to extend the time they will be defended by Hiscox in the Underlying Action.

        B.         Defendant Business Moves Waived Any Alleged Personal Jurisdiction
                   Defense by Appearing in this Action to Oppose Plaintiff’s Motion for Default
                   Judgment

        Defendants’ counsel filed a Notice of Appearance for both Defendants on January 31,

2019. See Doc. No. 35. On February 5, 2019, the same day the Motion to Dismiss was filed,

Business Moves filed its Opposition to Hiscox’s Motion for Default Judgment. See Doc. No. 37

(later re-filed as Doc. Nos. 41-43). In requesting that the Court lift the default and deny Hiscox’s

motion, Business Moves necessarily concedes that the Court had personal jurisdiction in the first

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instance. For the same reasons as discussed above, filing opposition papers to Hiscox’s motion is

sufficient to deem any personal jurisdiction defense waived. See Motown Record Co., L.P. v.

Motown Beverage Co. of Ohio, 165 F.3d 14 (2d Cir. 1998) (“As we have made clear, waiver of a

challenge to personal jurisdiction may occur due to a party's conduct, as well as its failure to raise

the defense in motions or pleading.”).

        C.         Defendants Have Appeared in and are Actively Litigating in the Underlying
                   Action in the Southern District of New York

        Defendants argue that they be permitted to pick and choose when they will litigate in New

York and when they will not, at their whim and convenience. In this case, Defendants have

consented to litigation in this forum in the Underlying Action and at the same time object to this

Court deciding whether they are entitled to insurance coverage for that very Underlying Action.

Defendants’ participation in the Underlying Action operates to waive any personal jurisdiction

defense in this related insurance coverage action. To hold otherwise would be to effectively permit

forum shopping.

        Parties that choose to litigate a case actively on the merits surrender the right to object to

the lack of personal jurisdiction or improper venue. Defendants claim that although they have not

yet filed a motion contesting personal jurisdiction in the Underlying Action, the defense has not

been waived. But “it is well established…that a party may consent to a court’s jurisdiction in an

action by failing to present it as a defense in its first responsive pleading as required by Fed. R.

Civ. P. 12(h)(1).” City of New York v. Mickalis Pawn Shop, LLC, 645 F.3d at 134. Although

Defendants provided a general denial of personal jurisdiction in its Answer in the Underlying

Action, and then fully participated in that case for over 6 months without another word about

personal jurisdiction. As such, they can no longer assert a personal jurisdiction defense. Datskow




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v. Teledyne, Inc., Continental Products Div., 899 F.2d 1298 (2d Cir. 1990); Hamilton v. Atlas

Turner, Inc., 197 F.3d 58 (2d Cir. 1999).

        Of note, Hiscox did not appoint the defense counsel that is representing Defendants in the

Underlying Action. Hiscox originally appointed counsel and, before any answer or responsive

pleading was filed, agreed to permit Defendants their choice of independent counsel. It was

Defendants’ independently chosen counsel that filed the Answer in the Underlying Action and that

has been directing the course of litigation from inception, including the failure to file any personal

jurisdiction motion. Therefore, Defendants’ reference to Hiscox’s “control” over the defense is

entirely inapposite.

III.    This Court Has Personal Jurisdiction Over Defendants

        Even if this Court were to find that Defendants have not waived their alleged personal

jurisdiction defense, this Court nonetheless has personal jurisdiction over both Defendants in this

matter. To exercise personal jurisdiction lawfully, three requirements must be met. “First, the

plaintiff's service of process upon the defendant must have been procedurally proper. Second, there

must be a statutory basis for personal jurisdiction that renders such service of process effective.

Third, the exercise of personal jurisdiction must comport with constitutional due process

principles.” Waldman v. Palestine Liberation Org., 835 F.3d 317, 327 (2d Cir. 2016). Defendants

do not dispute proper service. Rather, they claim only that there is no statutory basis for personal

jurisdiction and that jurisdiction would be inconsistent with due process.

        “In the preliminary stages of litigation, mere allegations by the plaintiff…are sufficient to

establish a prima facie case of personal jurisdiction.” MMT Sales, Inc. v. Channel 43, Inc., 92 Civ.

7207, 1993 WL 541242, at *3 (S.D.N.Y. Dec. 27, 1993). “A prima facie case is not defeated by

defendant’s controverting allegations.” Id.; see also Drucker Cornell v. Assicurazioni Generali

S.p.A. Consol., No. 97 CIV. 2262 (MBM), 2000 WL 284222 (S.D.N.Y. Mar. 16, 2000) (plaintiffs

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will prevail even if defendants make contrary allegations that controvert plaintiffs’ prima facie

case). Accordingly, “[a]bsent an evidentiary hearing, all pleadings and affidavits are construed,

and all doubts resolved, in favor of the party asserting personal jurisdiction.” Snow Becker Krauss

P.C. v. Proyectos E Instalaciones de Desalacion, S.A., No. 92 CIV. 2644 (LMM), 1994 WL

464221, at *2 (S.D.N.Y. Aug. 26, 1994).

        A.         This Court has Personal Jurisdiction Over the Defendants Pursuant to New
                   York CPLR Section 302

        A federal court sitting in diversity jurisdiction, considering the question of personal

jurisdiction, must apply the law of the jurisdiction in which the court sits. Arrowsmith v. United

Press Internat’l, 320 F.2d 219, 223 (2d Cir. 1963). New York CPLR § 302(a)(1) provides that “a

court may exercise personal jurisdiction over any non-domiciliary…who in person or through an

agent: transacts any business within the state or contracts anywhere to supply goods or services in

the state.” Section 302(a)(3) further provides that jurisdiction exists over a non-domiciliary who

“commits a tortious act without the state causing injury to person or property within the state…if

he (i) regularly does or solicits business, or engages in any other persistent course of conduct, or

derives substantial revenue from goods used or consumed or services rendered, in the state, or (ii)

expects or should reasonably expect the act to have consequences in the state and derives

substantial revenue from interstate…commerce.” N.Y. CPLR § 302. Defendants are subject to

personal jurisdiction pursuant to the aforementioned sections because they transacted business in

New York, allegedly engaged in tortious conduct in the State, and now demand insurance coverage

for the result of those actions: the Underlying Action pending in this Court.

        To maintain personal jurisdiction under Section 302(a)(1), “‘transacting business’ requires

only a minimal quantity of activity, provided that it is of the right nature and quality.” Snow Becker

Krauss, supra at *2 (S.D.N.Y. Aug. 26, 1994) (internal citations omitted). When determining


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whether a party has “transacted business” in New York, “courts must look at the totality of the

circumstances concerning the party’s interactions with, and activities within, the state.” Hsin Ten

Enter. USA, Inc. v. Clark Enter., 138 F. Supp. 2d 449, 455 (S.D.N.Y. 2000). However, section

302(a)(1) “is a ‘single act statute.’” Roberts Gordon, LLC. v. Superior Radiant Products, Ltd., 85

F. Supp. 2d 202, 212-13 (W.D.N.Y. 2000) (citations omitted). “‘[P]roof of one transaction in New

York is sufficient to invoke jurisdiction, even if the defendant never enters the state, so long as the

defendant’s activities in New York were purposeful and there is a substantial relationship between

the transaction and the claim asserted.’” Id.; see also Hsin Ten Etner. USA, Inc. v. Clark Enter.,

138 F. Supp. 2d 449, 455 (S.D.N.Y. 2000); Catsimatidis v. Innovative Travel Group, Inc., 650 F.

Supp. 748, 751 (S.D.N.Y. 1986).

        Personal jurisdiction exists over Defendants in this case for substantially the same reasons

that it exists in the Underlying Action; conduct occurred within this District giving rise to the

litigation. Defendants are sued in this case based on business conducted within the State of New

York, specifically Manhattan. Although Defendants claim they do no business in New York, their

website advertises, markets and sells the allegedly infringing goods to customers in New York.

Additionally, DJ Khaled alleges that Defendants called one of his clients in New York, specifically

threatening them with trademark litigation were they to use certain trademarks Defendants

allegedly own. See Underlying Action, Doc. No. 1-5 at ¶¶13, 54-57. After Defendants were sued

in the Southern District of New York for conduct committed within the Southern District of New

York, they demanded Hiscox defend and indemnify them in this District. This is sufficient to

confer specific jurisdiction. See, e.g., Massachusetts Bay Ins. Co. v. Portland Water Dist., No.

CIV. 99-487-M, 2000 WL 1499493, at *4 (D.N.H. May 10, 2000) (“Thus, this case involves more

than merely the interpretation of an insurance contract formed in Maine and an insured with no



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contacts with this forum. Instead, this declaratory judgment action arises directly out of PWD's

having allegedly disposed of toxic waste in this forum, its having been named as a defendant in

the underlying state tort action, and Mass Bay's desire to obtain a judicial determination of its

obligations, if any, to provide PWD with a defense in this state and indemnify it for any damages

it must pay in the pending tort action.”); Evanston Ins. Co. v. Honso USA, Inc., No. C 10-05596

WHA, 2011 WL 1362071 at *5 (N.D. Cal. Apr. 11, 2011) (“Not only is defendant Wen subject to

specific personal jurisdiction in California due to his involvement in the business practices at issue

in the underlying Horan suit, but, moreover, he is subject to specific personal jurisdiction in this

coverage action due to his participation in the underlying suit to which our action pertains.”).

        Defendants’ reliance on Gulf Ins. Co. v. Caldor Corp., No. 03 CIV. 2894 (LLS), 2006 WL

1586571 (S.D.N.Y. June 9, 2006) is misplaced. That case did not involve an insurance coverage

declaratory judgment action filed in the same forum as the underlying tort action. The only

connection to New York in that action was the fact that the insured had filed for Bankruptcy in the

Southern District of New York. The underlying personal injury action was brought in New Jersey,

and the Court held the subsequent declaratory judgment action should also have been filed in New

Jersey. Id. at *6 (“The Glasbrenners' activities in the Bankruptcy Court were not done in

connection with any issue involved in this case, but with the Glasbrenners' need to salvage their

claim against Caldor from being discharged in Caldor's bankruptcy. They did not go to the

Bankruptcy Court to ‘transact business’ with any party, but only to obtain leave to prosecute their

claims. Once they obtained leave, they returned to the New Jersey court and established a new set

of facts, which were never before the Bankruptcy Court. They established liability and obtained a

judgment against Caldor, which they will-or will not-be able to enforce against Gulf, depending

(among other things) on whether Gulf received timely notice of their claim. Their claim arises, not



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out of the bankruptcy proceeding, but out of the accident, the New Jersey Judgment and the terms

of the Gulf Policy.”).

        This case, however, arises out of the same “nucleus of operative facts” as the Underlying

Action. Defendants are alleged to have done business in New York and committed certain torts in

New York. Defendants have been sued in New York, and Defendants have demanded that Hiscox

defend and indemnify them for the New York Underlying Action. As a result, this Court may

properly exercise personal jurisdiction over Defendants.

        B.         This Court’s Jurisdiction over Defendants Satisfies All Due Process
                   Requirements

        “The due process test for personal jurisdiction has two related components: the ‘minimum

contacts’ inquiry and the ‘reasonableness’ inquiry.” Metropolitan Life Ins. Co. v. Robertson-Ceco

Corp., 84 F.3d 560, 567 (2d Cir. 1996). “In determining whether sufficient minimum contacts

exist, the court considers the relationship among the defendant, the forum, and the litigation.”

Roberts-Gordon, LLC v. Superior Radiant Products, Ltd., 85 F. Supp. 2d 202, 217 (W.D.N.Y.

2000) (citations omitted). A plaintiff can satisfy the minimum contacts requirement by

demonstrating that “the cause of action arises out of or relates to the defendant’s contacts with the

forum state, and that the defendant ‘purposefully availed’ himself of the privileges of doing

business in New York such that he could foresee being ‘haled into court’ there.” Id.

        While participation in a related lawsuit, without more, is insufficient to confer jurisdiction,

where the conduct forming the basis of the underlying suit is an intentional tort directed at the

forum state, and where the defendant demands insurance coverage for that lawsuit, such conduct

is sufficient to establish minimum contacts. See Admiral Ins. Co. v. Briggs, No. 3:02-CV-0310-P,

2002 WL 1461911 at *9 (N.D. Tex. July 2, 2002) (“It is fair to call Millman into this Court since,

taking the underlying allegations in CB Parkway as true, Millman could have reasonably foreseen


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being haled into court in Texas for interfering with a Texas property owner's lien. Since this case

concerns the extent of Admiral's duty to defend Millman based on those allegations, it follows that

it is also reasonably foreseeable that this action might bring him before this Court, as well.”); see

also Honso USA, Inc., supra at *5 (“…[B]y virtue of his participation in Horan, and for the same

reasons found by the state court, defendant Wen has purposely availed himself of the laws of

California in connection with his activities directed at the forum and his participation in Horan.”).

        Next, the assertion of personal jurisdiction in this case comports with traditional notions of

fair play and substantial justice. In making this determination, a court should consider the

following factors: (1) the burden on the defendant if the court exercises jurisdiction; (2) the forum

state’s interest in adjudicating the matter; (3) the plaintiff’s interest in obtaining convenient and

effective relief; (4) the interstate judicial system’s interest in obtaining the most efficient resolution

of controversies; and (5) the shared interests of the states in furthering fundamental substantive

social policies. World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980).

        Because Defendants’ conduct occurred in New York and was directed to New York, and

because their conduct had consequences in New York, it is hardly unfair or unreasonable to expect

them to submit to the jurisdiction of a New York court. New York has a clear interest in insurance

coverage available for torts committed within the State, and it would be most efficient to have both

the Underlying Action and declaratory judgment action litigated in the same venue. Although it

might be less of a burden for Defendants to defend this matter in Mississippi, “the conveniences

of modern communication and transportation ease what would have been a serious burden only a

few decades ago.” Metropolitan Life, 84 F.3d at 574. As discussed in detail below, it is hardly

inconvenient for Defendants to litigate this matter.




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IV.      This Case Should Not be Dismissed for Improper Venue

         The Southern District of New York is the proper venue for this declaratory judgment action

under 28 U.S.C. 1391(b)(2) or, alternatively, (b)(3). For the same reasons discussed above, a

substantial part of the events or omissions giving rise to the claim occurred within the Southern

District of New York where the Underlying Action is pending. Additionally, venue is also proper

in any judicial district in which any defendant is subject to the court’s personal jurisdiction. As

this Court has personal jurisdiction over the Defendants, venue is also proper in this District.

Defendants confuse improper venue with forum non conveniens (discussed below) in arguing that

this case must be dismissed because it would be more convenient for them to litigate in Mississippi.

While the District of Mississippi may be where Defendants prefer to litigate, that fact alone does

not make the Southern District of New York an improper venue.3

V.       This Case Should Not be Dismissed Based on Forum Non Conveniens

         A strong, favorable presumption is applied to a plaintiff’s choice of forum, and rarely

should that choice be disturbed. DiRienzo v. Philip Services Corp., 294 F.3d 21, 28 (2d Cir. 2002).

The balance must be strongly in favor of defendants before that choice is disturbed. Id. (quoting

Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)). Forum non conveniens “is a discretionary

device permitting a court in rare instances to dismiss a claim even if the court is a permissible

venue with proper jurisdiction over the claim.” Wiwa v. Royal Dutch Petroleum Co., 226 F.3d 88,

100 (2d Cir. 2000).

         A two-step analysis is applied in determining whether forum non conveniens dismissal or

transfer is appropriate: (1) whether an adequate alternative forum exists, and if so, (2) “courts must




3
 Hiscox further notes that the Mississippi Supreme Court has held that venue for insurance interpretation (and bad
faith lawsuits) is proper where events giving rise to the claim against the insured, which resulted in the denial of
coverage, took place. Greenwood v. Mesa Underwriters Specialty Ins. Co., 179 So. 3d 1082 (Miss. 2015).

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then balance a series of factors involving the private interests of the parties in maintaining the

litigation in the competing fora and any public interests at stake.” Id. at 100. Those factors include:

the relative ease of access to sources of proof; the cost of obtaining willing witnesses; the ability

to compel unwilling witnesses to attend; the practical problems which may result in expensive,

lengthy, and difficult litigation; administrative difficulties arising from the conduct of more than

one litigation; the local interest in avoiding having a localized controversy decided in a distant

forum; and the avoidance of unnecessary problems in conflicts of law or in the application of

foreign law. Young & Rubicam, Inc. v. Casey, 1994 WL 471568, at *4 (S.D.N.Y. Aug. 31, 1994);

see also Allstate Life Ins. Co. v. Linter Group Ltd., 994 F.2d 996, 1001 (2d Cir. 1993).

        The relative ease of access to proof and availability of witnesses are not factors here. The

Underlying Action is venued here, and therefore this Court has a front row seat to all issues

involved in that case. Contrary to Defendants’ assertions, this case will not involve witnesses or

production of significant (or any) documents. This is an insurance coverage action wherein Hiscox

is asking this Court to review the complaint in the Underlying Action and the Hiscox CGL Policy

and find, as a matter of law, that there is no duty to defend or indemnify the Defendants. Hiscox

is prepared to file an immediate motion for summary judgment based on the documentary evidence

alone, without need for any document discovery or deposition testimony. Given the connection to

the Underlying Action, and this Court’s interest in having a localized controversy decided here,

this is the only forum that makes sense.

        The interest in having a trial in a forum that is familiar with the law governing the action,

and avoiding unnecessary problems in the application of foreign law, similarly do not weigh in

favor of dismissal or transfer. The fact that Mississippi law applies to the terms of the Hiscox

Policy is not sufficient to render Mississippi the more convenient forum. This Court is arguably



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the most sophisticated District Court in the United States and is more than qualified to interpret

Mississippi law. See Manu Int’l, S.A. v. Avon Products, Inc., 641 F.2d 62, 67-68 (2d Cir. 1981)

(“Proof of foreign law may be a burden in this case, but it is not alone enough to push the balance

of convenience strongly in favor of the defendant...”).

          There are no factors which obligate this Court to dismiss or transfer the case based on

forum non conveniens. Hiscox’s choice of forum is entitled to deference absent evidence it was

improperly motivated, and particularly where Hiscox chose the only forum with a connection to

the Underlying Action. All sources of proof are located in this District and New York has a greater

interest than Mississippi in adjudicating these rights. See Nat'l Union Fire Ins. Co. of Pittsburgh,

PA v. BP Amoco, P.L.C., No. 03 Civ. 0200 (GEL), 2003 WL 21180421 (S.D.N.Y. May 20, 2003)

(Dismissal of insurers' suit for declaratory judgment of non-coverage was not warranted on forum

non conveniens grounds). Accordingly, Defendants’ motion to dismiss and/or transfer should be

denied.

                                          CONCLUSION

          For the foregoing reasons, Defendants’ Motion to Dismiss should be denied. Alternatively,

if the Court finds that it does not have personal jurisdiction over the Defendant, this case should

be expeditiously transferred to the United States District Court for the Southern District of

Mississippi, in lieu of dismissal.




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Respectfully submitted,

New York, New York
February 20, 2019

                                            COZEN O’CONNOR

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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 20, 2019, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to all counsel of record.


        DATED this 20th day of February, 2019.



                                                    COZEN O’CONNOR

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